         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE APPLICATION
OF THE UNITED STATES FOR AN ORDER
AUTHORIZING THE MONITORING OF                         Mag. No.
GLOBAL POSITIONING SYSTEM
INFORMATION AND CELL SITE DATA                        Filed Under Seal
FOR A SPRINT CELL PHONE WITH THE
NUMBER 301-302-2774

                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I, Alvin Cardinal (hereinafter your affiant), Officer in the Metropolitan Police

Department (MPD), Narcotics and Special Investigation Division (NSID), Major Case Unit

(MCU), Washington, D.C. (WDC), having been duly sworn, state:

       INTRODUCTION

       1.      I am presently involved in an investigation concerning individuals who distribute

phencyclidine (“PCP”) in the District of Columbia. I am seeking authorization to obtain

information about the prospective location of the cellular telephone assigned call number 301-

302-2774, with Electronic Serial Number (“ESN”) 310120200096793 (the “Target Telephone”),

whose service provider is Sprint, a wireless telephone service provider.

       2.      I am a member of the MPD with approximately thirteen years of service. During

my tenure with MPD, I have assisted in the execution of approximately three hundred search

warrants that resulted in the seizure of either illegal firearms and or illegal narcotics. Your affiant

is currently assigned to the Narcotics and Special Investigation Division, Major Case Unit. Your

affiant has attended courses on narcotics and firearms investigations, and has also attended

months of intensive training at the Institute of Police Science in Blue Plains, Washington, D.C.


                                                  1
         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 2 of 7



Based on my training and experience, I have learned that drug dealers frequently use cellular

phones in order to conduct their business with prospective buyers and suppliers (via voice calls

and text messages and other services available through the use of cellular phones), and that drug

dealers often keep cellular phones on their person or nearby throughout the day.

       3.      As a result of my personal participation in this investigation, as well as through

conversations with other members of the MPD and agents of the Federal Bureau of Investigation

(“FBI”) who are also working on this investigation, I am familiar with all aspects of this

investigation. In this affidavit, I allege the facts to show there is probable cause to believe that

violations of 21 United States Code §§ 841(a)(1) and 846, the distribution and possession with

intent to distribute controlled substances and conspiracy to do the same, have been committed

and are being committed by JAQUAN BEST aka “WOP” (“BEST”), and others known and

unknown, and that information concerning the location of the Target Telephone will constitute or

yield evidence of violations of the controlled substances laws (21 U.S.C. §§ 841 and 846) being

committed by BEST and others, known and unknown. This evidence includes the location of

stash houses for drugs and drug proceeds, and the identity of co-conspirators, associates, and

suppliers. This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant, and does not set forth all of my knowledge about this matter.

                                       PROBABLE CAUSE

       4.      In March of 2014, your affiant and other members of MPD’s Major Case Unit

began investigating individuals in the District of Columbia who are selling illegal narcotics. The

investigation revealed that subjects of the investigation have access to large quantities of PCP

(Phencyclidine). MPD Undercover Officers have been able to purchase PCP from several

individuals. The focus of this warrant is one of the individuals identified as BEST.

                                                  2
         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 3 of 7



       5.      In part through the use of a Confidential Informant (CI), an undercover officer

(“undercover”) arranged for the purchase of PCP, and on August 13, 2014, BEST arrived at a

controlled location in Washington, D.C., in the company of another individual. BEST entered

the location carrying a bag which contained the PCP, and handed the bag to the other individual

while taking a call on a cellular telephone that BEST brought with him into the location (not the

Target Telephone). During the ensuing conversation, BEST indicated that the price was $325,

but the undercover ultimately paid $300 in currency for approximately one ounce of a substance

that later field-tested positive for PCP. During this encounter, BEST indicated that he could sell

more PCP in the future.

       6.      Subsequently, arrangements were made for further deliveries of PCP, and on three

more occasions BEST arrived at a controlled location in Washington, D.C. (by himself) and sold

PCP: August 21, 2014, when he sold an undercover approximately five ounces of a substance

that field-tested positive for PCP, in exchange for $1,650 in currency; October 1, 2014, when he

sold an undercover approximately 191.2 grams of a substance that field-tested positive for PCP,

in exchange for $1,650 in currency; and February 2, 2015, when he sold an undercover officer

approximately one ounce of a substance that field-tested positive for PCP, in exchange for $280

in currency. Your affiant understands that BEST utilized one or more cellular telephones to

arrange logistics for these transactions with the undercover.

       7.      On June 10, 2015, BEST contacted the undercover utilizing the Target Telephone,

and indicated that he had a good supply of PCP and was open to new sales. Through subsequent

and continued communication via the Target Telephone, BEST and the undercover made

arrangements for a PCP deal.

       8.      On June 12, 2014, BEST communicated with the undercover via text messaging

                                                 3
         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 4 of 7



from the Target Telephone about his pending arrival. A little after 1:00 p.m., BEST entered a

controlled location in Washington, D.C., and sold the undercover approximately two ounces of a

substance that field-tested positive for PCP, in exchange for $540 in currency. During this

encounter, BEST discussed potential prices for larger quantities of PCP and indicated he would

contact his supplier to get more information about pricing.

       9.      Based on my investigation and training and experience, as well as the facts related

above, I believe that there is probable cause to believe that the Target Telephone is frequently

used by BEST to support his drug trafficking and that the Target Telephone remains on or near

his person throughout most or all of the day.

       10.     Based on my training and experience, I know that drug traffickers maintain

locations to stash their illegal narcotics, their drug proceeds and other evidence of their drug

trafficking enterprise, such as scales to weigh illegal narcotics, cutting agents, wrapping material,

bank records, and books and records reflecting drug proceeds, quantities of drugs acquired and

distributed, and payments owed or due for drug acquisitions and distributions. Based on my

training and experience, I know that evidence of the location of the Target Telephone, which

BEST uses for drug trafficking, will assist law enforcement in identifying BEST’s co-

conspirators and suppliers and associates, and the stash houses and the locations of other

evidence of his drug trafficking.

       11.     In my training and experience, I have learned that Sprint is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

telephone service have technical capabilities that allow them to collect and generate at least two

kinds of information about the locations of the cellular telephones to which they provide service:

(1) E-911 Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-site data,

                                                  4
         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 5 of 7



also known as “tower/face information” or cell tower/sector records. E-911 Phase II data

provides relatively precise location information about the cellular telephone itself, either via GPS

tracking technology built into the phone or by triangulating on the device’s signal using data

from several of the provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna

towers covering specific geographic areas) that received a radio signal from the cellular

telephone and, in some cases, the “sector” (i.e., faces of the towers) to which the telephone

connected. These towers are often a half-mile or more apart, even in urban areas, and can be 10

or more miles apart in rural areas. Furthermore, the tower closest to a wireless device does not

necessarily serve every call made to or from that device. Accordingly, cell-site data is typically

less precise than E-911 Phase II data.

       12.     Based on my training and experience, I know that Sprint can collect E-911 Phase

II data about the location of the Target Telephone, including by initiating a signal to determine

the location of the Target Telephone on Sprint’s network or with such other reference points as

may be reasonably available. Based on my training and experience, I know that Sprint can

collect cell-site data about the Target Telephone. The government is seeking E-911 Phase II

data, also known as GPS data, as well as cell-site data where such data is not available.

                                 AUTHORIZATION REQUEST

       13.     Based on the foregoing, I request that the Court issue the proposed search

warrant. I further request that the Court authorize the officer executing the warrant to delay

notice until 30 days after the collection authorized by the warrant has been completed. There is

reasonable cause to believe that providing immediate notification of the warrant may have an

adverse result. Providing immediate notice to the subscriber or user of the Target Telephone

would seriously jeopardize the ongoing investigation, as such a disclosure would give that person

                                                  5
         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 6 of 7



an opportunity to destroy evidence, change patterns of behavior, notify confederates, and flee

from prosecution.

       14.     I further request that the Court direct Sprint to disclose to the government any

requested location information that is within the possession, custody, or control of Sprint for a

period of 30 days during all times of day and night. I also request that the Court direct Sprint to

furnish the government all information, facilities, and technical assistance necessary to

accomplish the collection of the requested location information unobtrusively and with a

minimum of interference with Sprint’s services, including by initiating a signal to determine the

location of the Target Telephone on Sprint’s network or with such other reference points as may

be reasonably available, and at such intervals and times directed by the government. I further

request that the Court authorize execution of the warrant at any time of day or night, owing to the

potential need to locate the Target Telephone outside of daytime hours.

       15.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of

the targets of the investigation and public disclosure may cause targets to flee and to destroy

evidence. Accordingly, there is good cause to seal these documents because their premature

disclosure may seriously jeopardize that investigation.

                                         CONCLUSION

       16.     Your affiant asserts that the facts contained within this affidavit establish probable

cause to believe that information, including cell site information and information obtained from

E-911 tools, concerning the location of the cellular telephone presently assigned telephone

number call number 301-302-2774, with Electronic Serial Number (“ESN”) 310120200096793

                                                  6
         Case 1:15-mj-00428-DAR Document 1-1 Filed 07/09/15 Page 7 of 7



(the “Target Telephone”), with cellular service provided by Sprint, will constitute or yield

evidence of violations of the controlled substances laws (21 U.S.C. §§ 841, 846) being

committed by BEST and others, known and unknown.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

                                             _______________________________
                                             Officer Alvin Cardinal
                                             Metropolitan Police Department


Sworn to and subscribed before me
this _____ day of July, 2015.


______________________________
The Honorable Deborah A. Robinson
Magistrate Judge for the District of Columbia




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